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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             Case No. 21-20263-CR-DIMITROULEAS


  UNITED STATES OF AMERICA

  v.

  GARY TUCKER,

                  Defendant.
  - - - - - - - - - - - - - -I
                                        PLEA AGREEMENT


         The United States of America and GARY TUCKER, (hereinafter referred to as the

  ,''defendant") enter into the following agreement:

          1.    The defendant agrees to plead guilty to the single Count of the Information filed

  against him, which count charges the defendant with knowingly and willfully make a materially

  false, fictitious, and fraudulent statement and representation to Special Agents of the U.S. Fish &

  Wildlife Service, in violation of Title 18, United States Code, Section 1001(a)(2). In consideration

  therefor, the United States agrees that it will not bring additional charges against the defendant for

  wildlife trafficking and related offenses, based on conduct known to the United States at the time

  of execution of this agreement.

           2.     The defendant is aware that the sentence will be imposed by the court after

  considering the Federal Sentencing Guidelines and Policy Statements (hereinafter "Sentencing

  Guidelines").    The defendant acknowledges ,,and understands that the court will compute an


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  advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

  determined by t4e court relying in part on the results of a Pre-Sentence Investigation by the court's

  probation office, which investigation will commence after the guilty plea has been entered. The

  defendant is also aware that, under certain circumstances, the court may depart from the advisory

  sentencing guideline range that it has computed, and may raise or lower that advisory sentence

  under the Sentencing Guidelines. The defendant is further aware and understands that the court

  is required to consider the advisory guideline range determined under the Sentencing Guidelines,

  but is not bound to impose that sentence; the court is permitted to tailor the ultimate sentence in

  light of other statutory concerns, and such sentence may be either more severe or less severe than

  the S~ntencing Guidelines' advisory sentence. Knowing these facts, the defendant understands

  and acknowledges that the court has the authority to impose any sentence within and up to the

  statutory maximum authorized by law for the offenses identified in paragraph 1 and that the

  defendant may not withdraw the plea solely as a: result of the sentence imposed.

         3.    The defendant also understands and acknowledges that the court may impose a

  statutory maximum term of imprisonment ofup to five (5) years imprisonment as to the Count of

  conviction, and such period may be followed by a term of supervised release of up to 3 year on the

  charge to which he is pleading guilty. In addition to terms of imprisonment and supervised release,

  the court may also impose a fine ofup to $250,000, or the greater of twice the gain or loss arising

  under the relevant conduct.

         4.   The defendant further understand and acknowledges that, in addition to any sentence

  imposed under paragraph 3 of this agreement, a special assessment in the amount of $100;00 will

  be imposed on the defendant with respect to the count to which he is pleading guilty. · The

  defendant agrees that the special assessment imposed shall be paid at the time of sentencing.


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          5.     This Office and the defendant agree that, although not binding on the probation

  office or the Court, they will jointly recommend that the Court make the following findings and

  conclusions as to the proper calculation of the Sentencing Guideline in this case:

         a.      Base Offense Level: Pursuant to Section 2B 1.1 of the Sentencing Guidelines, the
                 base offense level in this matter is Level 6.

         b.      Specific Offense Characteristics: No adjustment is warranted under Section 2Bl.l
                 of the Sentencing Guidelines.

         c.      Chapter Three, Part C Adjustment: Defendant should receive an increase in his
                 offense level pursuant to Section 3Cl.1 for obstructing or impeding the
                 administration of justice by+2 levels.

         d.      Guideline range: That the applicable guideline range for the Count 1 offense
                 committed by the defendant is Level 8.                  ·

         6.     The Office of the United States Attorney for the Southern District of Florida

  (hereinafter "Office") reserves the right to inform the court and the probation office of all facts

  pertinent to the sentencing process, including all relevant information concerning the offenses

  committed, whether charged or not, as well as concerning the defendant and the defendant's

  background. Subject only to the express terms of any agreed-upon sentencing recommendations

  contained in this agreement, this Office further reserves the right to make any recommendation as

  to the quality and quantity of punishment.

         7.      The Unit~d States agrees that it will recommend at sentencing that the court reduce

  the sentencing guideline· level applicable to the defendant's offense pursuant to Sections 3E 1.1 (a)

  of the Sentencing Guidelines, based upon the defendant's recognition and affirmative and timely

  acceptance of personal responsibility resulting in a total adjusted offense level of 6. However, the

  United States will not be required to make this sentencing recommendation if the defendant: (1)

  fails or refuses to make full, accurate and complete disclosure to the probation office of the

  circumstances surrounding the relevant offense conduct; (2) is found to have misrepresented facts
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  to the government prior to entering this plea agreement; or (3) commits any misconduct after

  entering into this plea agreement, including but not limited to committing a state or federal offense,

  violating any term of release, or making false statements or misrepresentations to any

  governmental entity or official.

       · 8.      The defendant is a:ware that the sentence has not yet been determined by the court.

  The defendant also is aware that any estimate of the probable sentencing range or sentence

  that the defendant may receive, whether that estimate comes from the defendant's attorney, the

  government, or the probation office, is a prediction, not a promise, and is not binding on the

  government, the probation office or the court. The defendant understands further that any .

  recommendation that the government makes to the court as to sentencing, whether pursuant to this

  agreement or otherwise, is not binding on, the court and the court may disregard the

  recommendation in its entirety. The defendant understands and acknowledges, as previously

  acknowledged in paragraph 2 above, that the defendant may not withdraw his plea based upon the

  court's decision not to accept a sentencing recommendation made by the defendant, the

  government, or a recommendation made jointly by both the defendant and the government.

         9.      This is the entire agreement and understanding between the United States and the

  Defendant. There are no other agreements, promises, representations, or understandings.



                                                Respectfully submitted,

                                                JUAN ANTONIO GONZALEZ
                                                ACTING UNITED S.TATES ATTORNEY



                                         By:
                                                Th as A. Watts-FitzGer
                                                Assistant United States Attorney


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                                     DEFENDANT




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